                        UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF TENNESSEE, AT KNOXVILLE


 UNITED STATES OF AMERICA                              )
                Plaintiff,                             )
 V.                                                    )                NO. 3:21-CR-58
                                                       )
 COURTNEY PARTIN,                                      )
               Defendant.                              )


    MOTION TO CONDUCT PSYCHIATRIC OR PSYCHOLOGICAL EVALUATION
                 PURSUANT TO 18 U.S.C. §§ 4241 and 4242


        Comes the Defendant,Courtney Partin, by and through counsel, hereby moves the Court

 to allow a psychological evaluation pursuant to 18 U.S.C. §§ 4241 and 4242. He asks that the

 trial proceedings be held in abeyance pending the psychological evaluation to be conducted by

 the Bureau of Prisons. In support of this motion, defendant would state and show the following:

 1. Defense counsel has concerns regarding the present mental capacity of his client, Courtney

    Partin and his ability to discuss his case with the defense team.

 2. Mr. Partin faces a significant period of incarceration. Given the importance of the liberty

    interests at stake and the necessity of the defendant’s assistance, undersigned counsel does

    not believe that he can represent Mr. Partin effectively without the benefit of a

    psychological evaluation to determine if he can participate in his own defense.

 3. Mr. Partin also files his notice of intent to rely on a defense of insanity as required by 18

    U.S.C. § 4242 and Rule 12.2(a) of the Federal Rules of Criminal Procedure.

 4. Assistant United States Attorney, LaToyia Carpenter has been made aware that this Motion

    and Notice will be filed and has no objection.




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        In consideration of the foregoing, defense counsel asks this Honorable Court to enter an

  Order committing Mr. Partin to the custody of the Bureau of Prisons pursuant to 18 U.S.C. §§

  4241 and 4242 to conduct a psychiatric or psychological examination and report in regard to

  his ability to stand trial and a determination as to his sanity at the time of the offense.

        Respectfully submitted on the 11th day of June, 2021.

                                                FEDERAL DEFENDER SERVICES OF
                                                EASTERN TENNESSEE, INC.

                                        BY:     s/ Stephen Ferrell
                                                Stephen Ferrell
                                                Assistant Federal Defender
                                                Federal Defender Services of Eastern Tennessee
                                                800 S. Gay St., Suite 2400
                                                Knoxville, TN 37929

                                                COUNSEL FOR DEFENDANT




                                  CERTIFICATE OF SERVICE

 I hereby certify that on June 9, 2021, a copy of the foregoing Motion to Conduct Psychological
 or Psychiatric Evaluation pursuant to 18 U.S.C. §§ 4241 and 4242 was filed electronically.
 Notice of this filing will be sent by operation of the Court’s electronic filing system to all
 parties indicated on the electronic filing receipt. All other parties will be served by regular U.S.
 mail. Parties may access this filing through the Court’s electronic filing system.

                                                s/ Stephen Ferrell




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